                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                               NORTHERN DIVISION

 MILTON DYER and ILA DYER,                     )
                                               )
      Plaintiffs,                              )
                                               )
 v.                                            )
                                               )           Case No. 3:18-cv-00366
 JIM PATTISON GROUP, INC. a/k/a The            )              Jury Demanded
 Jim Pattison Group d/b/a Ripley’s             )
 Believe It or Not!; and RIPLEY                )
 ENTERTAINMENT, INC. d/b/a Ripley’s            )
 Believe It or Not!,                           )
                                               )
      Defendants.                              )

                                       COMPLAINT

      Plaintiffs, Milton Dyer and Ila Dyer, by and through counsel, and for their Complaint

against Defendants, Jim Pattison Group, Inc. a/k/a The Jim Pattison Group d/b/a

Ripley’s Believe It or Not!, and Ripley Entertainment, Inc. d/b/a Ripley’s Believe It or

Not!, aver as follows:

                                   Jurisdiction and Venue

      1.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332, because the amount in controversy exceeds $75,000.00, exclusive of interest and

costs, and complete diversity of citizenship exists between Plaintiffs and Defendants.

      2. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), because a

substantial part of the events or omissions giving rise to this action occurred in this

judicial district.

      3. This Court has in personam jurisdiction over Defendant, because Defendants’

activities within the State of Tennessee give rise to this action.




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                                          Parties

    4. Plaintiffs Milton Dyer and Ila Dyer are husband and wife and citizens of the State

of Arkansas.

    5.   Defendant Jim Pattison Group, Inc. a/k/a The Jim Pattison Group is a Canadian

corporation with its principal place of business located at 1800-1067 West Cordova Street,

Vancouver, British Columbia V6C 1C7 Canada.

    6. Defendant Ripley Entertainment, Inc. is a Delaware corporation with its principal

place of business located at 1800-1067 West Cordova Street, Vancouver, British Columbia

V6C 1C7 Canada.

    7.   Defendants maintain interrelated operations and share ownership and control

over the Ripley’s Believe It or Not! located at 800 Parkway, Gatlinburg, Tennessee 37738.

                                           Facts

    8. On September 8, 2017, Plaintiffs entered the Ripley’s Believe It or Not! in

Gatlinburg, Tennessee as paying guests to ride the “Moving Theater” attraction.

Defendants describe the “Moving Theater” as a REAL-D 5D movie experience. The

“Moving Theater” is essentially a cross between a roller coaster and a movie. Passengers

are strapped in to moving chairs that simulate falls, abrupt starts and stops, and violent

twists and turns along with the action on the screen.

    9.   The “Moving Theater” causes participants to become mentally and visually

destabilized, which causes dizziness and increased susceptibility to falls.

    10. Plaintiff Milton Dyer sat through the first of two movie experiences, which

violently shook his chair while exposing him to high speed and stimulating visuals. When

the first movie had finished, Plaintiff Milton Dyer attempted to leave. Due to poor



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lighting, inadequate handrails, and slippery concrete stairs, Milton Dyer fell down several

stairs while attempting to exit the theater.

    11. As a result of the fall, Plaintiff Milton Dyer has suffered serious and permanent

injuries.

                                        Legal Claims

    12. At all times material hereto, Defendants owed the passengers on the “Movie

Theater” a duty to exercise the utmost diligence, skill, and foresight, to provide for their

passengers’ safety. Defendants breached their duty in the following ways, any one of

which was a departure from the accepted standard of care owed by the defendant to the

Plaintiff Milton Dyer:

         A. In permitting a surface to be maintained in the area intended for public use

which was dangerously slick and/or slippery;

         B. In carelessly and negligently failing to provide adequate lighting or

reflective safety tape so that patrons could descend the stairs safety;

         C. In failing to warn the plaintiff either verbally or by posting any warning sign

as to the existence of the above described conditions, especially in light of the dizzying

“Moving Theater experience” would have on their mental and visual senses;

         D. In failing to properly and adequately supervise and oversee the above described

areas;

         E. In permitting its employees or other individuals known to have access to the

area to create the hazardous conditions described above;

         F. In failing to provide adequate handrails;

         G. In failing to use an abrasive or anti-slip substance in the construction and

maintenance of the stairs; and

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           H. In failing to use reasonable care for the safety of the Plaintiff in general.

    13. Plaintiffs allege that all such actions by Defendants were negligent and negligent

per se, and a direct and proximate cause of Plaintiff Milton Dyer’s injuries.

    14. As a direct and proximate result of the negligence of the Defendant, Plaintiff

Milton Dyer received serious personal injuries, some or all of which are permanent; as a

result of this, the Plaintiff has suffered continuous physical pain and mental distress;

has undergone treatment and surgery; has been disfigured; has suffered a permanent

diminished capacity to enjoy life; has sustained loss of income and diminished earning

capacity; has incurred medical bills for treatment and care, and will continue to do so in

the future.

    15. As a direct and proximate result the negligence of the Defendants, Plaintiff Ila

Dyer has sustained great and irreparable loss in that she will, and has been, deprived of the

services, society, companionship, and consortium of her husband, Milton Dyer.

                                        Prayer for Relief

    WHEREFORE, Plaintiffs, Milton Dyer and Ila Dyer, respectfully pray for relief as

follows:

    1.     That process issue and that Defendants be required to answer this Complaint

within the time prescribed by the Federal Rules of Civil Procedure and applicable law.

    2. That Plaintiff Milton Dyer be awarded judgment against Defendants in an

amount not to exceed $3,000,000.00, representing compensatory damages.

    3. That Plaintiff Ila Dyer be awarded judgment against Defendant in the amount of

$500,000.00, representing loss of consortium damages;

    4. That Plaintiffs be awarded punitive damages as determined by the jury;



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    5.   That Plaintiffs be awarded such other legal and equitable relief to which they may

be entitled, including but not limited to court costs and other general relief or money

damages; and

    6. Plaintiffs further demands a Jury to try this cause.

                                           Respectfully submitted,


                                            /s/Richard Everett Collins
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